 Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 1 of 13 PageID 1




                     UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF FLORIDA
                          ORLANDO DIVISION

                                               CASE No.:
MICHAEL R. MCNEIL,

        Plaintiff,
vs.

VITTORIA AGOSTINI, and
SPAULDING INVESTMENTS, LLC
d/b/a VITTORIA'S ITALIAN
COFFEE AND PASTRIES,

     Defendants.
________________________________/

                                   COMPLAINT


        Plaintiff, MICHAEL R. MCNEIL (hereinafter the “Plaintiff”), through

undersigned counsel, hereby files this Complaint and sues VITTORIA AGOSTINI,

and SPAULDING INVESTMENTS, LLC, a Florida Limited Liability Company,

d/b/a    VITTORIA’S      ITALIAN      COFFEE       AND     PASTRIES,       (hereinafter,

collectively the “Defendants”), (hereinafter, collectively the “Defendants”), for

injunctive relief, attorney’s fees and costs (including, but not limited to, court costs

and expert fees), pursuant to 42 U.S.C. §12181, et. seq., (“AMERICANS WITH

DISABILITIES ACT” or “ADA”) and alleges:
 Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 2 of 13 PageID 2




                        JURISDICTION AND PARTIES

      1.     This is an action for declaratory and injunctive relief pursuant to Title

III of the Americans with Disabilities Act, 42 U.S.C. §12181, et. seq., (hereinafter

referred to as the “ADA”). This Court is vested with jurisdiction under 28 U.S.C.

§1331 and §343.

      2.     Venue is proper in this Court, Middle District pursuant to 28 U.S.C.

§1391(B) in that all events giving rise to this lawsuit occurred in Volusia County,

Florida.

      3.     At the time of Plaintiff’s visit to Defendants’ Subject Facilities, prior

to instituting the instant action, MICHAEL R. MCNEIL (hereinafter referred to as

“MCNEIL”), was a resident of the State of Florida, suffered from what constitutes

a “qualified disability” under the Americans with Disabilities Act of 1990, and

used a wheelchair for mobility. Plaintiff has traumatic brain injury (TBI). He is

required to traverse in a wheelchair and is substantially limited to performing one

or more major life activities including, but not limited to, walking, standing,

grabbing, grasping, and/or pinching.

      4.     The Plaintiff personally visited, in or about February 25, 2021

Defendants’ Subject Facilities, but was denied full and equal access to, and full and

equal enjoyment of, the facilities services, goods, privileges and accommodations

offered within Defendants’ Subject Facilities, which is the subject of this lawsuit,


                                          2
 Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 3 of 13 PageID 3




even though he would be classified as a “bona fide patron”, because of his

disabilities.     Plaintiff lives in Volusia County, Florida, in close proximity to

Defendants, (within 3.8 miles) and travels in the surrounding areas near

Defendants’ Subject Facilities on a regular basis.

       5.       The   Defendants,   VITTORIA       AGOSTINI,    and   SPAULDING

INVESTMENTS, LLC, a Florida Limited Liability Company, d/b/a VITTORIA’S

ITALIAN COFFEE AND PASTRIES are authorized to conduct and are

conducting business within the State of Florida.

       6.       Upon information and belief, SPAULDING INVESTMENTS, LLC,

is the lessee and/or operator of the real property (the “Subject Facility”), and the

owner of the improvements where the Subject Facility is located which is the

subject of this action, the establishment commonly referred to as VITTORIA’S

ITALIAN COFFEE AND PASTRIES located at 3106 S. Atlantic Avenue,

Daytona Beach, Florida.

       7.       Upon information and belief, VITTORIA AGOSTINI is the lessor,

operator and/or owner of the real property (the “Subject Facility”), and the owner

of the improvements where the Subject Facilities are located which are the subjects

of this action.




                                           3
 Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 4 of 13 PageID 4




         8.    All events giving rise to this lawsuit occurred in the State of Florida.

Venue is proper in this Court as the premises are located in Volusia County in the

Middle District, Orlando Division.

                COUNT I – VIOLATIONS OF THE AMERICANS WITH

                                  DISABILITIES ACT

         9.    On or about July 26, 1990, Congress enacted the Americans with

Disabilities Act (“ADA”), 42 U.S.C. §12101, et. seq. Commercial enterprises

were provided one and a half years from enactment of the statute to implement its

requirements. The effective date of the Title III of the ADA was January 26, 1992.

42 U.S.C. §12181; 20 C.F.R. §36.508(a).

         10.   Congress found, among other things, that:

               (i)     some 43,000,000 Americans have one or more physical or
mental
                       disabilities, and this number shall increase as the population
                       continues to grow older;

               (ii)    historically, society has tended to isolate and segregate
                       individuals with disabilities, and, despite some improvements,
                       such forms of discrimination against disabled individuals
                       continue to be a pervasive social problem, requiring serious
                       attention;

               (iii)   discrimination against disabled individuals persists in such
                       critical    areas    as    employment,     housing,    public
                       accommodations, transportation, communication, recreation,
                       institutionalization, health services, voting and access to
                       public services and public facilities;

               (iv)    individuals with disabilities continually suffer forms of
                       discrimination, including outright intentional exclusion, the

                                              4
 Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 5 of 13 PageID 5




                     discriminatory effects of architectural, transportation, and
                     communication barriers, failure to make modifications to
                     existing facilities and practices. Exclusionary qualification
                     standards and criteria, segregation, and regulation to lesser
                     services, programs, benefits, or other opportunities; and,

             (v)     the continuing existence of unfair and unnecessary
                     discrimination and prejudice denies people with disabilities
                     the opportunity to compete on an equal basis and to pursue
                     those opportunities for which our country is justifiably
                     famous, and costs the United States billions of dollars in
                     unnecessary expenses resulting from dependency and non-
                     productivity.

      42 U.S.C. §12101(a)(1)-(3), (5) and (9).

      11.    Congress explicitly stated that the purpose of the ADA was to:

             (i)     provide a clear and comprehensive national mandate for the
                     elimination of discrimination against individuals with
                     disabilities;
             (ii)    provide clear, strong, consistent, enforceable standards
                     addressing discrimination against individuals with
                     disabilities; and,

             (iii)   invoke the sweep of congressional authority, including the
                     power to enforce the fourteenth amendment and to regulate
                     commerce, in order to address the major areas of
                     discrimination faced day-to-day by people with disabilities.

      42 U.S.C. §12101(b)(1)(2), and (4).

      12.    Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, Defendants

are places, of public accommodation in that they are establishments which provide

goods and services to the public.




                                             5
 Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 6 of 13 PageID 6




      13.      Pursuant to 42 U.S.C. §12181(7) and 28 C.F.R. §36.104, the building

and/or Subject Facility which is the subject of this action is a public

accommodation covered by the ADA and which must be in compliance therewith.

      14.      The Plaintiff is informed and believes, and therefore alleges, that the

Subject Facility has begun operations and/or undergone remodeling, repairs and/or

alterations since January 26, 1990.

      15.      Defendants have discriminated, and continue to discriminate, against

the Plaintiff, and others who are similarly situated, by denying full and equal

access to, and full and equal enjoyment of, goods, services, facilities, privileges,

advantages and/or accommodations at Defendants’ Subject Facilities in derogation

of 42 U.S.C. §12101, et. seq., and as prohibited by 42 U.S.C. §12182 et. seq., and

by   failing    to   remove    architectural   barriers   pursuant   to   42    U.S.C.

§12182(b)(2)(a)(iv), where such removal is readily achievable.

      16.      The Plaintiff has been unable to, and continues to be unable to, enjoy

full and equal safe access to, and the benefits of, all accommodations and services

offered at Defendants’ Subject Facilities. Prior to the filing of this lawsuit, the

Plaintiff visited the subject properties and was denied full and safe access to all the

benefits, accommodations, and services of the Defendants.        Prior to the filing of

this lawsuit, MCNEIL, personally visited VITTORIA AGOSTINI, and

SPAULDING INVESTMENTS, LLC, d/b/a VITTORIA’S ITALIAN COFFEE


                                           6
 Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 7 of 13 PageID 7




AND PASTRIES with the intention of using Defendants’ facilities but was denied

full and safe access to the facilities, and therefore suffered an injury in fact. As

stated herein, the Plaintiff has visited the Subject Facilities in the past, prior to the

filing of this lawsuit, resides near said Subject Facility, and Plaintiff intends to

return to the Subject Facility and Property within six months, or sooner, upon the

Subject Facility being made accessible. As such, Plaintiff is likely to be subjected

to continuing discrimination at the Subject Facility unless it is made readily

accessible to and usable by individuals with disabilities to the extent required

under the ADA, including the removal of the architectural barrier which remain at

the Subject Facility.

      17.    Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991,

the Department of Justice, Office of the Attorney General, promulgated Federal

Regulations to implement the requirements of the ADA, known as the Americans

with Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R.

Part 36, under which said Department may obtain civil penalties of up to $110,000

for the first violation and $150,000 for any subsequent violation.

      18.    The Defendants’ Subject Facilities are in violation of 42 U.S.C.

§12182 et. seq., the ADA and 28 C.F.R. §36.302 et. seq., and is discriminating

against the Plaintiff, as a result of interalia, the following specific violations:




                                            7
Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 8 of 13 PageID 8




    VIOLATIONS

       a) Failure to provide ADA compliant accessible parking stall, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 208.2.

       b) Failure to provide ADA compliant accessible parking spaces and

          access aisle on a firm, stable, slip resistant surface, in violation 2017

          FAC, 2014 FAC and 2010 ADAS Section 502.4 and 302.1.

       c) Failure to provide ADA compliant parking stall striping and markings,

          in violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.3.

       d) Failure to provide ADA compliant parking stall width clearance, in

          violation 2017 FAC, 2014 FAC Section 502.1.

       e) Failure to provide ADA compliant parking stall slope gradings, in

          violation 2017 FAC, and 2014 FAC Section 502.4.

       f) Failure to provide ADA compliant access aisle (missing), in violation

          2017 FAC, 2014 FAC and 2010 ADAS Section 502.2.

       g) Failure to provide ADA compliant access aisle on the driver’s side of

          the parking stall, in violation 2017 FAC, 2014 FAC and 2010 ADAS

          Section 502.3.4.

       h) Failure to provide ADA compliant access aisle width clearance, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 502.3.1.




                                       8
Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 9 of 13 PageID 9




       i) Failure to provide ADA compliant access aisle slope grading, in

          violation 2017 FAC, and 2014 FAC Section 502.4.

       j) Failure to provide ADA compliant parking stall signage, in violation

          2017 FAC, and 2014 FAC Section 502.6.

       k) Failure to provide ADA compliant parking stall signage with the $250

          penalty, in violation 2017 FAC, and 2014 FAC Section 502.6.1.

       l) Failure to provide ADA compliant number of exterior table seating, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 227.3.

       m) Failure to provide ADA compliant exterior table clearances, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.1.

       n) Failure to provide ADA compliant entrance door threshold, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 404.2.5.

       o) Failure to provide ADA compliant entrance door hardware, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 309.4.

       p) Failure to provide ADA compliant number of interior table seating, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 227.3.

       q) Failure to provide ADA compliant interior table clearances, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.1.

       r) Failure to provide ADA compliant interior aisle width clearances, in

          violation 2017 FAC, 2014 FAC and 2010 ADAS Section 403.5.1.


                                     9
Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 10 of 13 PageID 10




        s) Failure to provide ADA compliant transaction counter height, in

           violation 2017 FAC, 2014 FAC and 2010 ADAS Section 904.4.1 and

           904.4.2.

        t) Failure to provide ADA compliant directional signage to accessible

           restroom, in violation 2017 FAC, 2014 FAC and 2010 ADAS Section

           216.8.

        u) Failure to provide ADA compliant restroom signage, in violation 2017

           FAC, 2014 FAC and 2010 ADAS Section 216.8.

        v) Failure to provide ADA compliant restroom door hardware, in

           violation 2017 FAC, 2014 FAC and 2010 ADAS Section 309.4.

        w) Failure to provide ADA compliant restroom door width clearance, in

           violation 2017 FAC, 2014 FAC and 2010 ADAS Section 404.2.3.

        x) Failure to provide ADA compliant lavatory underside clearance, in

           violation 2017 FAC, 2014 FAC and 2010 ADAS Section 306.3.1.

        y) Failure to provide ADA compliant paper towel dispenser, in violation

           2017 FAC, 2014 FAC and 2010 ADAS Section 308.2.1.

        z) Failure to provide ADA compliant flushing mechanism, in violation

           2017 FAC, 2014 FAC and 2010 ADAS Section 604.6.

        aa) Failure to provide ADA compliant side grab bar, in violation 2017

           FAC, 2014 FAC and 2010 ADAS Section 609.4.


                                     10
Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 11 of 13 PageID 11




         bb) Failure to provide ADA compliant rear grab bar, in violation 2017

               FAC, 2014 FAC and 2010 ADAS Section 609.4.

            cc) Failure to provide ADA compliant toilet paper dispenser location, in

               violation 2017 FAC, 2014 FAC and 2010 ADAS Section 604.7.

         dd) Failure to provide ADA compliant, unobstructed, lavatory/toilet clear

               floor space, in violation 2017 FAC, 2014 FAC and 2010 ADAS

               Section 604.3.2.

            ee) Failure   to   provide   ADA   compliant    unobstructed,   restroom

               maneuverability clearances, in violation 2017 FAC, 2014 FAC and

               2010 ADAS Section 304.3.1 and 304.3.2.

      19.      Upon information and belief, there are other current violations of the

ADA at Defendants’ Properties, and only once a full inspection is done can all said

violations be identified.

      20.      To date, the readily achievable barriers and other violations of the

ADA still exist and have not been remedied or altered in such a way as to

effectuate compliance with the provisions of the ADA. The barriers to access at

the Subject Facilities, as described above, have severely diminished Plaintiff’s

ability to avail himself of the goods and services offered at the Subject Facilities,

and compromise his safety.




                                          11
Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 12 of 13 PageID 12




      21.    Pursuant to the ADA, 42 U.S.C. §12101 et. seq., and 28 C.F.R.

§36.304, the Defendants were required to make the Subject Facility, a place of

public accommodation, accessible to persons with disabilities since January 28,

1992. To date, the Defendants have failed to comply with this mandate.

      22.    The Plaintiff has been obligated to retain the undersigned counsel for

the filing and prosecution of this action. The Plaintiff is entitled to have his

reasonable attorney’s fees, costs and expenses paid by the Defendants, pursuant to

42 U.S.C. §12205.

      23.    Pursuant to 42 U.S.C. §12188, this Court is vested with the authority

to grant the Plaintiff’s injunctive relief; including an order to alter the subject

facilities to make them readily accessible to, and useable by, individuals with

disabilities to the extent required by the ADA and closing the subject facility until

the requisite modifications are completed.

      WHEREFORE, the Plaintiff hereby demands judgment against the

Defendants and the Court declare that the subject property and Subject Facilities

owned, operated, leased, controlled and/or administered by the Defendants are

violative of the ADA;

      A.     The Court enter an Order requiring the Defendants to alter their

             facilities and amenities to make them accessible to and usable by




                                         12
Case 6:21-cv-02122-RBD-GJK Document 1 Filed 12/20/21 Page 13 of 13 PageID 13




           individuals with disabilities to the full extent required by Title III of

           the ADA;

     B.    The Court enter an Order directing the Defendants to evaluate and

           neutralize their policies, practices and procedures toward persons with

           disabilities, for such reasonable time so as to allow the Defendants to

           undertake and complete corrective procedures to the Subject Facility;

     C.    The Court award reasonable attorney’s fees, all costs (including, but

           not limited to court costs and expert fees) and other expenses of suit,

           to the Plaintiff; and

     D.    The Court award such other and further relief as it deems necessary,

           just and proper.



     Dated: This 20th day of December 2021.



                                            Respectfully submitted,

                                            By: /S/Joe M. Quick, Esq._________
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                                       13
